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                                                               UNITED STATES DISTRICT COURT
                                 13
                                                                      DISTRICT OF NEVADA
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                    DENISE DEANGELIS, derivatively on behalf         Case No.: 2:24-cv-00891-JCM-MDC
                                 15 of ANAVEX LIFE SCIENCES CORP.,

                                 16                       Plaintiff,                    STIPULATION FOR TEMPORARY
                                                                                            STAY OF PROCEEDINGS
                                 17 v.

                                 18 CHRISTOPHER MISSLING, PETER
                                    DONHAUSER, JIONG MA, ATHANASIOS
                                 19 SKARPELOS, STEFFEN THOMAS, and
                                    CLAUS VAN DER VELDEN,
                                 20
                                                    Defendants.
                                 21
                                    and
                                 22
                                    ANAVEX LIFE SCIENCES CORP.,
                                 23
                                                    Nominal Defendant.
                                 24

                                 25         Plaintiff Denise Deangelis (“Plaintiff”), Defendant Christopher Missling (“Missling”), and
                                 26
                                      Nominal Defendant Anavex Life Sciences Corp. (“Anavex” or the “Company” and together with
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                                  1   Missling, “Defendants”) (Plaintiff and Defendants, taken together, the “Parties”) hereby stipulate
                                  2   as follows:
                                  3
                                             WHEREAS, on November 27, 2024, the Parties filed a Joint Stipulation to withdraw
                                  4
                                      Anavex’s Countermotion for a briefing schedule, accept service of process for Defendant Missling,
                                  5
                                      and set a deadline for the parties to submit a briefing schedule on a motion to dismiss. See ECF
                                  6

                                  7   No. 22;

                                  8          WHEREAS, the Court approved the Joint Stipulation on November 27, 2024, setting a

                                  9   deadline of January 15, 2025 for the parties to submit a proposed stipulation regarding briefing.
                                 10
                                      See ECF No. 23;
                                 11
                                             WHEREAS, the Parties have met and conferred regarding the most efficient manner to
                                 12
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                                      proceed in this matter given the pendency of a motion to dismiss in a class action pending in the
                                 13
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                                      United States District Court for the Southern District of New York, Huey v. Anavex Life Sciences
                                 14

                                 15   Corporation, No. 1:24-cv-01910-CM (the “Huey Action”); and

                                 16          WHEREAS, in an effort to proceed in the most efficient manner, the Parties agree that it
                                 17   would save judicial and party resources to temporarily stay this action in its entirety pending the
                                 18
                                      resolution of defendants’ motion to dismiss in the Huey Action.
                                 19
                                             WHEREFORE, the Parties hereby agree, stipulate, and respectfully request that the Court
                                 20
                                      enter an order as follows:
                                 21

                                 22          1.      This action is stayed in its entirety (including all discovery) until the resolution of

                                 23   defendants’ motion to dismiss in the Huey Action.

                                 24             2.   Defendants shall promptly notify Plaintiff of any derivative action filed on behalf
                                 25   of Anavex of which Defendants become aware and that asserts claims substantially the same as
                                 26
                                      those asserted in this action (“Related Derivative Actions”).
                                 27

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                                  1          3.      Plaintiff has the option to terminate the stay if a Related Derivative Action is not
                                  2   stayed for a similar or longer duration than this action by giving 14 days’ notice to counsel for
                                  3
                                      Defendants via email.
                                  4
                                             4.      During the stay, Plaintiff may amend the complaint to the extent otherwise
                                  5
                                      permitted by the Federal Rules of Civil Procedure, but Defendants shall not be required to respond
                                  6

                                  7   to any amended complaint during the pendency of the stay.

                                  8          5.      The Parties will submit a stipulation to this Court regarding the briefing schedule

                                  9   for a motion to dismiss within 30 days of the court’s decision on defendants’ pending motion to
                                 10
                                      dismiss in the Huey action or upon termination of the stay as provided above.
                                 11
                                             IT IS SO STIPULATED.
                                 12
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                                      Dated: January 15, 2025                      HOLLAND & HART LLP
                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                                                                     _/s/ Robert J. Cassity                    .
                                 14
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                                 21                                                  Nominal Defendant Anavex Life Sciences Corp.
                                 22

                                 23

                                 24

                                 25                                                       LEVERTY & ASSOCIATES LAW CHTD.
                                       Dated: January 15, 2025
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                                                                                          Patrick R. Leverty
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                                  8
                                                                            Attorneys for Plaintiff
                                  9

                                 10
                                                                     ORDER
                                 11

                                 12
                                                                       IT IS SO ORDERED.
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                                 15
                                                                       UNITED STATES DISTRICT JUDGE
                                 16
                                                                       DATED:             January 22, 2025
                                                                                     ____________________________
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